









Dismissed and Memorandum Opinion filed October 21, 2004









Dismissed and Memorandum Opinion filed October 21,
2004.

&nbsp;

In The

&nbsp;

Fourteenth Court of
Appeals

____________

&nbsp;

NO. 14-04-00791-CV

____________

&nbsp;

KRAFT FOODS GLOBAL, INC.,
Appellant

&nbsp;

V.

&nbsp;

JOYCE ELLIOT, Appellee

&nbsp;



&nbsp;

On Appeal from the
11th District Court

Harris County, Texas

Trial Court Cause
No. 01-29856

&nbsp;



&nbsp;

M E M O R A N D U M&nbsp;&nbsp; O P I N I O N

This is an appeal from a judgment signed June 15, 2004.

On October 12, 2004, appellant filed a motion to dismiss the
appeal because the case has been settled.&nbsp;
See Tex. R. App. P. 42.1.&nbsp; The motion is granted.

Accordingly, the appeal is ordered dismissed.

PER CURIAM

Judgment rendered and Memorandum
Opinion filed October 21, 2004.

Panel consists of Justices
Anderson, Hudson, and Frost.

&nbsp;





